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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


JOSEPH JASKIEWICZ,

                     Plaintiff,

vs.                                          Case No.: 8:22-cv-01037-MSS-CPT


TARGET CORPORATION and
UNKNOWN STORE MANAGER,

             Defendant.
_____________________________/

        DEFENDANT, TARGET CORPORATION’S RESPONSE IN
         OPPOSITION TO PLAINTIFF’S MOTION TO REMAND
                  AND MEMORANDUM OF LAW

      Defendant, TARGET CORPORATION (hereinafter, “Target”), by and

through its undersigned counsel, hereby responds in Opposition to Plaintiff’s

Motion to Remand and Memorandum of Law (Doc. 5). In support thereof, Target

states as follows:

                                  INTRODUCTION

      On or about March 29, 2022 Plaintiff filed this lawsuit alleging he slipped

and fell while a guest at a Target store. As a result of the slip and fall, Plaintiff

claims that he suffered injuries and related damages. On May 3, 2022 Target

removed this action from the Circuit Court for the Sixth Judicial Circuit to this

Court (Doc. 1). Target removed this action based, in part, on pre-suit

correspondence from Plaintiff’s counsel dated February 8, 2022, wherein
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Plaintiff’s counsel represented Plaintiff’s medical costs allegedly related to

Plaintiff’s slip and fall at Target as follows:

        Medical Provider                                      Total Billed

        St. Anthony’s Hospital                                $50,635.82

        All Florida Orthopedics                               $23,830.00

        Westcoast Hospitalists, LLC                           $415.00

        Bayside Emergency Physicians                          $5,026.00

        BayCare Medical Group (Allendale Primary Care) $691.00

        Total                                                 $80,597.82


      In this correspondence, Plaintiff’s counsel further stated that Plaintiff was

admitted to St. Anthony’s hospital and underwent an open reduction and internal

fixation surgery of his left arm, and attended at least 32 physical therapy

appointments related to his injuries and surgery. Plaintiff’s counsel, presumably

based at least in part on Plaintiff’s medical costs and treatment, presented a pre-

suit demand of $575,000.

      In his lawsuit, Plaintiff specifically claims that he

      …suffered bodily injury resulting in pain and suffering, disability,
      disfigurement, permanent and significant scarring, mental anguish,
      loss of the capacity for the enjoyment of life, expense of
      hospitalization, medical and nursing care and treatment, loss of
      earning, loss of ability to earn money, and aggravation of previously
      existing condition. The losses are either permanent or continuing and
      Plaintiff will suffer the losses in the future.




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Plaintiff now argues that the case must be remanded arguing there is a lack of

complete diversity and that Plaintiff’s pre-suit demand is insufficient to establish

the amount in controversy threshold pursuant to § 1332(a). Plaintiff’s Motion fails

to articulate a valid basis for remand, and therefore the Motion should be denied.

                             MEMORANDUM OF LAW

      I.    Target Has Established Diversity of the Parties, and
            Therefore Remand is Improper

      Plaintiff makes two arguments claiming lack of diversity in this case: (1) that

the claim against the “unknown store employee” defeats diversity; and (2) that the

“unknown store employee” did not consent to removal. Plaintiff’s motion clearly

ignores well-established law that the Court disregards a fictitious name for the

purpose of removal. See 28 U.S.C. § 1441(b)(1) (“the citizenship of defendants sued

under fictitious names shall be disregarded”).

      Even if ‘the fictitious defendants were likely’ not diverse, their citizenship

must ‘be disregarded for purposes of diversity jurisdiction.’” Laposa v. Walmart

Stores E. LP, 2020 WL 2301446, at *1 (M.D. Fla. May 8, 2020) (citing Smith v.

Comcast Corp., 786 Fed. App'x 935, 939 (11th Cir. 2019)). For a removed case,

diversity jurisdiction is determined at the time of removal. Id.

      Plaintiff cites Nelson v. Boston Market Corporation, 2017 WL 393870,

(M.D. Fla. January 30, 2017) in support of his argument, but Nelson is

distinguishable from this case. In Nelson, contemporaneous with filing the Motion

for Remand, Plaintiff filed a Motion to Amend and First Amended Complaint,


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wherein the plaintiff specifically named the previously “unknown store manager.”

In analyzing Nelson’s Motion for Remand, Motion to Amend, and First Amended

Complaint the Court applied the factors set forth in Hengens v. Deere & Co., 833

F. 2d 1179 (5th Cir. 1987) to determine whether remand was proper.

        In this case, Plaintiff has not identified any store manager or other

employee in his Complaint or Motion to Remand. Plaintiff has not filed a Motion

to Amend or proposed an amended complaint in order for the Court to consider

the Hensgens factors.1 Accordingly, Plaintiff cannot now claim that the residence

of the “unknown store manager” can defeat this Court’s diversity jurisdiction.

Likewise, Plaintiff’s claim that “all defendants have not consented to removal” is

without merit. Consent of a fictitious named defendant that has not been served

is not required for removal. See Laposa, 2020 WL 2301446, at *1. As such, there

remains complete diversity between Plaintiff and Target, and removal to this Court

is proper.

        II.     Target Has Established the Amount in Controversy by a
                Preponderance of the Evidence, and Therefore, Removal is
                Proper

        Plaintiff next claims that Target has “failed to allege that the amount in

controversy in this case exceeds § 1332(a)’s jurisdictional threshold amount.” (Doc.

5, at pg. 4, sub-part IV). In support of her argument, Plaintiff claims that Target


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   As noted in its Notice of Removal, Target may ultimately argue that Unknown Store Manager is
fraudulently joined, but because the citizenship of Unknown Store Manager is disregarded for removal
purposes, this “obviates the need to consider fraudulent joinder at the removal stage of the proceedings.”
See Laposa v. Walmart Stores E. LP, 2020 WL 2301446, at *1 (M.D. Fla. May 8, 2020).


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“provides…no evidence to support its contention this matter is worth over $75,000

other than a vague reference to Plaintiff’s pre-suit demand letter…” As an initial

matter, Plaintiff is correct that Target does not agree that this matter is worth

$75,000, but Target’s analysis of Plaintiff’s claims’ worth is immaterial here. The

question, as it relates to removal, is whether the amount in controversy

exceeds $75,000. In his Motion for Remand, Plaintiff completely ignores the fact

that his pre-suit demand set forth, in detail, medical expenses in excess of

$80,000, purportedly related to his alleged slip and fall.

      Plaintiff cites several cases in support of his proposition that “Plaintiff’s

settlement offer is nothing more than mere posturing’’ and does not automatically

establish the amount in controversy. Nevertheless, a demand letter “supported by

documented medical bills and specific medical diagnoses [ ]...may be sufficient to

plausibly allege that the amount in controversy exceeds $75,000.” Hernandez v.

Burlington Coat Factory of Fla., LLC, No. 2:15-CV-403-FTM-29CM, 2015 WL

5008863, at *2 (M.D. Fla. Aug. 20, 2015) (citing Scott v. Home Depot U.S.A., Inc.,

No. 11-62426-CIV, 2012 WL 86986, at *3 (S.D. Fla. Jan. 11, 2012)). In Thompson

v. Columbia Sussex Corp., 2:16-CV-435-FTM-29CM, 2016 WL 6134868, at *3

(M.D. Fla. Oct. 21, 2016), the Court found:

      Here, Plaintiffs’ pre-suit demand not only references medical bills totaling
      $67,000, it also lists three medically-diagnosed conditions (arm fracture,
      facial contusions, and shoulder strain), resulting in 13% upper extremity
      impairment and 8% “whole person” impairment. Accordingly, the Court
      finds that Plaintiffs’ pre-suit demand credibly supports the conclusion that
      the value of Mrs. Thompson’s claim exceeded $75,000 at the time of
      removal. Id.; see also Moraguez v. Walgreen Co., No. 6:15-CV-1579-ORL-
      28TBS, 2015 WL 7863008, at *2 (M.D. Fla. Dec. 3, 2015).

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         Notably, in Thompson, the plaintiffs submitted affidavits after removal

claiming the case was valued less than $75,000 and agreeing to settle the case for

less than $75,000. Id. However, the Court found that the plaintiffs’ post-

removal “willingness” to settle the case for less than the jurisdictional amount

was too little too late. Id. at *4, n. 6 (emphasis added). Rather, plaintiffs’ medical

bills and medical diagnoses established by a preponderance of the evidence that,

at the time of removal, the amount-in-controversy requirement was satisfied. Id.

at *4.

         Similarly here, Plaintiff’s counsel’s correspondence referenced medical bills

totaling over the jurisdictional minimum and identified multiple fractures,

surgery, numerous physical therapy appointments and diagnostic tests. Unlike

Thompson, however, Plaintiff is not arguing that the amount in controversy is less

than $75,000; rather, he is arguing that Target has failed to meet its burden of

establishing that the amount in controversy exceeds $75,000. (Doc. 5, at p. 5). See

Devore v. Howmedica Osteonics Corp., 658 F.Supp.2d 1372, 1380 (M.D.Fla.2009)

(“plaintiff’s refusal to stipulate or admit that she is not seeking damages in excess

of the requisite amount should be considered when assessing the amount in

controversy.”).

         The law on this issue is clear that Target properly relied upon the medical

bills to establish by a preponderance of the evidence that the amount in

controversy requirement was met. This is not a case where Plaintiff’s


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correspondence merely demanded an amount over the jurisdictional minimum

without more. See Lamb v. State Farm Fire Mut. Auto. Ins. Co., 3:10-CV-615-J-

32JRK, 2010 WL 6790539, at *2 (M.D. Fla. Nov. 5, 2010) (“courts have analyzed

whether demand letters merely ‘reflect puffing and posturing,’ or whether they

provide ‘specific information to support the plaintiff’s claim for damages’ and thus

offer a ‘reasonable assessment of the value of [the] claim.’”)

      An illustrative case is Russell v. Target Corp., 2:14-CV-377-FTM-29CM,

2014 WL 3908171, at *1 (M.D. Fla. Aug. 11, 2014). In that case, the plaintiff

demanded $245,000 based on injuries, impairments, damages and losses, and

past medical bills of the specified amount of $64,397.36. After removal, the

plaintiff argued that damages remained “too speculative” to determine the amount

in controversy or support removal, and the settlement offer itself may not be

determinative. Id. The Court disagreed:

      In the Complaint (Doc. # 2), plaintiff alleges that she “suffered bodily injury
      and resulting pain and suffering, disability, loss of the capacity of the
      enjoyment of life, medical care and treatment expenses, loss of earnings,
      and loss of ability to earn money. The losses are either permanent or
      continuing and Plaintiff, Elisabeth Russell, will suffer losses in the future.”
      (Doc. # 2, ¶¶ 11, 16.) The Court finds that the specified incurred medical
      expenses coupled with the allegations of permanent or continuing losses,
      more than adequately meet the requisite amount in controversy by a
      preponderance of the evidence, and that defendant met its burden.

Id.

Likewise, in this case, Target properly relied upon Plaintiff’s claim that his losses

“are either permanent or continuing” along with the medical expenses set forth in

Plaintiff’s demand letter, in removing this action.


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      “[T]he district court must determine whether it had subject matter

jurisdiction at the time of removal. That is, events occurring after removal which

may reduce the damages recoverable below the amount in controversy

requirement do not oust the district court’s jurisdiction.” Poore v. Am.-Amicable

Life Ins. Co. of Texas, 218 F.3d 1287, 1290-91 (11th Cir. 2000) (overruled in part

on other grounds). “It therefore logically follows that subject matter jurisdiction is

not defeated simply because the parties might anticipate a future reduction in

recoverable damages.” Henry v. K-Mart Corp., No. 8:10-CV-2105-T-33MAP, 2010

WL 5113558, at *4 (M.D. Fla. Dec. 9, 2010) (“Because Henry is, at the time of

removal, entitled to seek $78,856.64 in medical expenses (regardless of a future

set off), K–Mart has met its burden in establishing the required amount in

controversy for federal subject matter jurisdiction. Therefore, the Court denies the

motion to remand.”). A plaintiff cannot defeat subject matter jurisdiction by

reducing her claim after removal has taken place. Id. (citing Freeport–McMoran,

Inc., v. KN Energy, Inc., 498 U.S. 426, 428, 111 S.Ct. 858, 112 L.Ed.2d 951 (1991)

(noting the Supreme Court has “consistently held that if jurisdiction exists at the

time an action is commenced, such jurisdiction may not be divested by subsequent

events”)).

      The cases relied upon by Plaintiff are distinguishable, and actually provide

further support for Target’s removal of this action. In Lamb v. State Farm Fire

Mut. Auto. Ins. Co., 2010 WL 6790539 (M.D. Florida, November 5, 2010) the Court

noted that plaintiff’s pre-suit demand did “not indicate the exact nature of

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[plaintiff’s] required medical treatment or detail any substantial medical

expenses.” Id. at *1. Nevertheless, the court held that removal was proper where

plaintiff’s more detailed post-suit demand, coupled with plaintiff’s refusal to admit

that the amount in controversy was less than $75,000, established the amount in

controversy by a preponderance of the evidence. Id. at *3.

      In Piazza v. Ambassador II JV, L.P., 2010 WL 2889218 (M.D. Florida, July

21, 2010), the court noted “defendants rely exclusively on the demand letter to

establish the amount in controversy. However, the demand letter states that the

plaintiff has incurred only $14,963.48 in medical expenses.” Id. at *1 (emphasis

added). Unlike the defendants in Piazza, however, in this case Target relies, in

part, on Plaintiff’s demand letter that represents medical expenses in excess of

$80,000. Plaintiff provides no support for the suggestion that Target’s refusal to

present a counter-offer to Plaintiff’s demand is in any way relevant to the amount

in controversy analysis or requirement.

                                   CONCLUSION

      Target has established that there is complete diversity among the named

parties to this lawsuit. Further, Target made specific factual allegations, supported

by evidence combined with reasonable deductions, inferences, and extrapolations,

and has demonstrated by a preponderance of the evidence that this civil action

exceeds $75,000, exclusive of interest and costs. Maiz v. Virani, 253 F.3d 641, 664

(11th Cir. 2001) (“Suffice it to say that while damages may not be determined by

mere speculation or guess, it will be enough if the evidence shows the extent of the

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damages as a matter of just and reasonable inference.”). Therefore, this Court has

jurisdiction over this case. See 28 U.S.C. § 1332(a)(1).

        WHEREFORE, Defendant, TARGET CORPORATION, respectfully

requests the Court deny Plaintiff’s Motion to Remand, continue to exercise

jurisdiction over this matter, and award such other relief as this Court deems just

and proper.

                                       HILL WARD HENDERSON

                                       /s/ Cory J. Person
                                       Cory J. Person (FBN 32950)
                                       cory.person@hwhlaw.com
                                       Sherilee J. Samuel (FBN 017499)
                                       sherilee.samuel@hwhlaw.com
                                       Nicole Walsh (FBN 11196)
                                       nicole.walsh@hwhlaw.com
                                       3700 Bank of America Plaza
                                       101 East Kennedy Boulevard
                                       Tampa, FL 33602
                                       Ph. 813.221.3900
                                       Fax 813.221.2900
                                       Attorneys for Defendant, Target
                                       Corporation



                          CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on May 27, 2022, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system and furnished
a copy via email to JOSEPH A. KOPACZ, ESQUIRE, Attorney for Plaintiff at
jkopacz@forthepeople.com and dknetzer@forthepeople.com.


                                 /s/ Cory J. Person
                                 HILL WARD HENDERSON, P.A.
                                 Attorneys for Target Corporation



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